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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

IN RE: COOK MEDICAL, INC, IVC FILTERS
                                                              Case No. 1:14-ml-2570-RLY-TAB
MARKETING, SALES PRACTICES AND
                                                                                MDL No. 2570
PRODUCTS LIABILITY LITIGATION

This Document Relates to Plaintiff(s)



 Iris Diaz

 Civil Case # 1:22-cv-06856-RLY-TAB


                          $0(1'('SHORT FORM COMPLAINT


        COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document

213). Plaintiff(s) further show the court as follows:

        1. Plaintiff/Deceased Party:

             Iris Diaz

        2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

             claim:

             N/A

        3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

             N/A

        4.   Plaintiff’s/Deceased Party’s state of residence at the time of implant:

             NY




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      5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

         NY

      6. Plaintiff’s/Deceased Party’s current state of residence:

         NY

      7. District Court and Division in which venue would be proper absent direct filing:

         United States District Court, Western District of New York, Rochester Division

      8. Defendants (Check Defendants against whom Complaint is made):

                     Cook Incorporated

                     Cook Medical LLC

                     William Cook Europe ApS

      9. Basis of Jurisdiction:

                     Diversity of Citizenship

                     Other:

         a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:
          For purposes of remand and trial, venue is proper pursuant to 28 U.S.C. §1391 in the
          federal judicial district of each Plaintiff’s state of residence. A substantial amount of
          activity giving rise to the claims occurred in this District, and Defendants may be
          found within this District. Therefore, venue is proper in this jurisdiction under 28
          U.S.C. §1391.

         b. Other allegations of jurisdiction and venue:




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      10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

         (Check applicable Inferior Vena Cava Filters):

                     Günther Tulip® Vena Cava Filter

                     Cook Celect® Vena Cava Filter

                     Gunther Tulip Mreye

                     Cook Celect Platinum

                     Other:


      11. Date of Implantation as to each product:

          November 25, 2008



      12. Hospital(s) where Plaintiff was implanted (including City and State):

          University of Rochester Medical Center

          Rochester, NY

      13. Implanting Physician(s):

          Unknown




      14. Counts in the Master Complaint brought by Plaintiff(s):

                     Count I:        Strict Products Liability – Failure to Warn

                     Count II:       Strict Products Liability – Design Defect

                     Count III:      Negligence

                     Count IV:       Negligence Per Se




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                        Count V:      Breach of Express Warranty

                        Count VI:     Breach of Implied Warranty

                        Count VII: Violations of Applicable              NY               (insert State)

                        Law Prohibiting Consumer Fraud and Unfair and Deceptive Trade Practices

                        Count VIII:   Loss of Consortium

                        Count IX:     Wrongful Death

                        Count X:      Survival

                        Count XI:     Punitive Damages

                        Other:

                        SOHDVHVWDWHWKHIDFWVVXSSRUWLQJthis Count in the space, immediately below)

                        Other:        Fraudulent Concealment

                        SOHDVHVWDWHWKHIDFWVVXSSRUWLQJthis Count in the space, immediately below)

              Additional facts supporting Counts I, III, V, VI, VII, XI and Fraudulent

              Concealment are included in Exhibit "A" which is incorporated by reference

              herein.




      15. Attorney(s) for Plaintiff(s):
          Ben C. Martin

          Thomas Wm. Arbon




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      1. Address and bar information for Attorney for Plaintiff(s):

          3141 Hood Street, Suite 600, Dallas, TX 75219

         Ben C. Martin, Bar No. 13052400

         Thomas Wm. Arbon, Bar No. 01284275



RESPECTFULLY SUBMITTED this 3rd                day of ______________
                                                       August        ________
                                                                      2022    .


                                                   /s/ Ben C. Martin
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                                                   Attorney for Plaintiff




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                               CERTIFICATE OF SERVICE
                               August 3, 2022
       I hereby certify that on _____________, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
CM/ECF participants registered to receive service in this MDL.



                                                    /s/ Ben C. Martin
                                                    Ben C. Martin




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